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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
                                    NEWARK VICINAGE


    OCCIDENTAL CHEMICAL CORPORATION                  )   Hon. Madeline Cox Arleo
                                                     )   Hon. Leda Dunn Wettre
           Plaintiff,                                )
                                                     )   Civil Action No. 2:18-cv-11273
    v.                                               )
                                                     )   BRIEF IN SUPPORT OF PLAINTIFF
    21ST CENTURY FOX AMERICA, INC., et al.           )   OCCIDENTAL CHEMICAL
                                                     )   CORPORATION’S MOTION FOR
           Defendants,                               )   PARTIAL SUMMARY JUDGMENT
                                                     )   ON BATH IRON WORKS
    21ST CENTURY FOX AMERICA, INC., et al.           )   CORPORATION’S SUCCESSOR
                                                     )   LIABILITY
           Third-Party Plaintiffs,                   )
                                                     )   Motion Date: September 7, 2021
    v.                                               )
                                                     )   Oral Argument Requested
    PASSAIC VALLEY SEWERAGE                          )
    COMMISSIONERS, et al.                            )
                                                     )
           Third-Party Defendants.                   )
                                                     )
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                                           INTRODUCTION

          Bath Iron Works Corporation (“BIW”), after a 1986 merger, became the corporate

   successor to the companies that owned and operated the manufacturing facility from the 1880s

   until 1979 that was located at 195 Belgrove Drive (also known as 160 Passaic Avenue) in

   Kearny, immediately adjacent to the Passaic River (the “Congoleum Plant”). Accordingly, BIW

   is liable for the acts and omissions of those companies, including Congoleum Corporation. Those

   acts and omissions include the discharge to the river of PCBs, lead, copper, mercury, and other

   contaminants of concern (“COCs”). The Court should find that BIW is liable for its

   predecessors’ discharges of PCBs and other COCs into the Passaic River and the Passaic River

   sediment.


                             STATEMENT OF UNDISPUTED FACTS

          In 1986, BIW merged with Congoleum Corporation, which was the corporation that in

   1984 acquired and expressly assumed the flooring-related liabilities of the Congoleum Plant’s

   original owner and operator, Congoleum-Nairn, Inc., and then proceeded to operate the

   Congoleum Plant until 1986 (and to sell it to a third party). SMF1 ¶¶ 1, 2, 9-11, 17-18.

          In Congoleum Corporation’s 2020 bankruptcy case,2 BIW made representations in an

   “Offer of Proof” to the Bankruptcy Court sufficient to establish its successorship to Congoleum

   Corporation. Initially, BIW admitted:

                  Congoleum, through various corporate forms, first began developing
          flooring products in the 1800s in Scotland. Michael Nairn was the original

   1
     Statement of Material Facts not in Dispute, filed herewith.
   2
     In re Congoleum Corporation, No. 20-18488 (MBK) (Bankr. D.N.J.). The Debtor in that case,
   the entity now known as Congoleum Corporation, was formed in 1986 and is not the Congoleum
   Corporation with which BIW merged.
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          inventor of its first floor covering product. … In 1886, Congoleum established the
          U.S. headquarters of its business in Kearny, New Jersey and operated its resilient
          flooring business, the Congoleum Flooring Business, in Kearny, New Jersey. …
          As a result of various acquisitions in 1924, Congoleum operated under the name
          Congoleum-Nairn Inc.

   SMF ¶ 1. And:

                  In 1968, Congoleum-Nairn, Inc., merged with Bath Industries, Inc. … The
          merged entity changed its name to Congoleum Corporation (“1968 Congoleum”),
          and continued to own and operate the Kearny Manufacturing Facilities. Between
          1980 and 1984, this Bath-Congoleum entity engaged in a series of corporate
          transactions that re-structured its businesses into different subsidiaries and
          divisions. As a result of this re-structuring, the assets and liabilities related to the
          Resilient Flooring Operations, including the liabilities associated with the Kearny
          Manufacturing Facilities, were transferred to a newly formed entity that was also
          subsequently named Congoleum Corporation (“1984 Congoleum”). The 1968
          Congoleum Corporation (the result of the merger between Congoleum-Nairn,
          Inc., and Bath Industries, Inc.) changed its name to Congoleum Industries, Inc.
          (“Congoleum Industries”) and remained as the parent corporation of 1984
          Congoleum (as well as other subsidiary businesses part of the corporate
          restructuring).

   SMF ¶ 2.

          BIW also represented to the Bankruptcy Court that in 1986, Congoleum Industries Inc.

   (CII), the then-corporate parent of Congoleum Corporation (which in turn was the corporate

   parent of BIW) “engaged in an internal restructuring.” SMF ¶ 3. According to BIW, the

   corporate structure of CII, Congoleum Corporation and BIW was as follows immediately before

   the restructuring:




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   SMF, ¶ 6. This depiction that BIW offered to the Bankruptcy Court shows that in 1986,

   Congoleum Corporation had two subsidiaries, Curtis Industries and BIW. SMF, ¶¶ 5, 6.

                                                 7
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          According to BIW, the internal restructuring required the creation of two new

   subsidiaries of Congoleum Corporation: Resilco (sometimes referred to as Resilient) and Kinder

   Manufacturing Corporation. SMF ¶ 7. Thus:




   SMF ¶ 8.




                                                  8
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          The main purpose of the two new subsidiaries was to receive Congoleum Corporation’s

   assets and liabilities, leaving it an empty “shell” (according to BIW) with no operations and no

   assets except for its stock in BIW. Shedding liabilities was important, because, as shown later,

   the “internal restructuring” plan included merging Congoleum Corporation into BIW.

   Congoleum Corporation tried to cleanse itself of its liabilities (and thereby not affect its

   subsidiary and prospective merger partner BIW) by entering into an agreement with one of the

   new subsidiaries, Resilco, Inc., in a document BIW calls the “Resilco Assignment.” According

   to BIW, “Through the Resilco Assignment, it was intended that Resilco would assume ‘all of the

   liabilities associated with the Resilient flooring business3 . . . It was intended to pick up

   liabilities, whether [it] knew about them or not.’” SMF ¶ 10. The Resilco Assignment provided:

          Resilient by this Instrument hereby undertakes, assumes and agrees that it will
          perform, pay or discharge all liabilities and obligations of Congoleum (known or
          unknown and whether absolute, accrued, contingent or otherwise) directly related
          to the Transferred Assets existing as of the date hereof and the business conducted
          by Congoleum’s Resilient Flooring Division on the date hereof, whether asserted
          before or after such time.

   SMF ¶¶ 9, 12. The Resilco Assignment was signed by the same person on behalf of both

   Congoleum Corporation and Resilco: Terry Morton. SMF ¶ 13.

          The next step, according to the 1986 plan BIW submitted to the Bankruptcy Court, was

   that “Congoleum will transfer to CII all of its remaining assets, except for the capital stock of

   Bath [i.e., BIW] and certain of Congoleum’s minor subsidiaries.4 Among the assets to be

   transferred to CII will be Congoleum’s interest in the stock of Kinder, Resilient, and Curtis.”

   SMF ¶ 14. After Congoleum Corporation transferred its Kinder, Resilient, and Curtis stock to




   3
    The Resilient flooring business was Congoleum’s flooring business in Kearny. SMF ¶¶ 1, 11.
   4
    The “minor subsidiaries” were not identified in the written plan or in BIW’s submissions to the
   Bankruptcy Court.
                                                      9
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    CII, those entities were no longer subsidiaries of Congoleum, but were direct subsidiaries of CII.

    Only BIW remained a Congoleum Corporation subsidiary:




    SMF ¶ 15.




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           Then Congoleum Corporation, an “empty shell,” merged into its subsidiary, BIW. As

    BIW put it, “On April 18, 1986 … the middle-tier, 1984 Congoleum,5 was merged into BIW

    with BIW as the surviving corporation.” SMF ¶¶ 16-17. After the merger of Congoleum

    Corporation into BIW, CII looked like this:




    5
     In its Offer of Proof, BIW sometimes referred to the Congoleum Corporation with which it
    merged as “1984 Congoleum” to distinguish it from both earlier entities and from the
    Congoleum Corporation that exists today, a separate corporation that was the debtor in the 2020
    bankruptcy case. BIW Offer of Proof, ¶¶ EE (p. 22).


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    SMF ¶ 19.

           The “Plan of Merger” of 1984 Congoleum with and into BIW provides that BIW “shall

    thenceforth be responsible and liable for all debts, liabilities, obligations, duties and penalties of

    each of the Constituent Corporations, and all said debts, liabilities, obligations, duties and

    penalties shall thenceforth attach to the Surviving Corporation [i.e., BIW] and may be enforced

    against it to the same extent as if said debts, liabilities, obligations, duties and penalties had been

    incurred or contracted by it.” SMF ¶ 18.

           By virtue of these undisputed facts, BIW is the legal successor to the owners and

    operators of the Congoleum Plant for a hundred years, from 1886 through 1986, and therefore

    responsible for any obligations flowing from that ownership and operation. In short, as a matter

    of legal fact, BIW is the same corporation as the Congoleum Corporation that assumed the Bath-

    Congoleum liabilities in 1984 and proceeded to own and operate the Congoleum Plant until its

    sale in 1986.6


                                           LEGAL STANDARD

                  Pursuant to Federal Rule of Civil Procedure 56, a motion for summary
           judgment will be granted if the pleadings, depositions, answers to interrogatories,
           and admissions on file, together with available affidavits, show that there is no
           genuine dispute as to any material fact and that the moving party is entitled to
           judgment as a matter of law. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
           247 (1986); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). “[S]ummary
           judgment may be granted only if there exists no genuine issue of material fact that

    6
      BIW will argue that a 2010 Bankruptcy Court order held that the Congoleum Plant liabilities
    were assumed by the new corporation (also named Congoleum Corporation) in 1986 (i.e., before
    the bankruptcy), and BIW is therefore immune from the effect of CERCLA § 107(e)(1).
    Because that argument is without merit for the reasons set forth in Plaintiff’s letter to Special
    Master Scrivo (Document 1266), facts relating to that order are not material. That order
    addressed the liabilities of debtor Congoleum Corporation and did not (and could not have)
    foreclosed any independent claims against BIW, which was not a debtor in that case. See also
    DVL, Inc. v. Congoleum Corp., 2018 U.S. Dist. LEXIS 143437, *15 (D.N.J. Aug. 23, 2018)
    (McNulty, J.) (“The confirmed plan itself … carves out environmental liability from its scope”)
    (referring to Congoleum’s 2010 bankruptcy plan).
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            would permit a reasonable jury to find for the nonmoving party.” Miller v. Ind.
            Hosp., 843 F.2d 139, 143 (3d Cir. 1988). All facts and inferences must be
            construed in the light most favorable to the non-moving party. Peters v. Del. River
            Port Auth., 16 F.3d 1346, 1349 (3d Cir. 1994).

    Occidental Chem. Corp. v. 21st Century Fox Am., No. 18-11273 (Sept. 11, 2020) (slip op. at 4)

    (alteration in original).


                                                ARGUMENT


      I.    BIW IS CONGOLEUM CORPORATION’S CORPORATE SUCCESSOR AND IS
            LIABLE FOR THE CONGOLEUM PLANT DISCHARGES

            A. BIW Succeeded by Operation of Law to Congoleum’s Congoleum
               Plant-Related Liabilities


            In this case, the Court has ruled that a merged entity has liability for acts of its

    predecessor entity. Occidental Chem. Corp. v. 21st Century Fox Am., slip op. at 4-5. In Smith

    Land & Improvement Corp. v. Celotex Corp., the Third Circuit explained, “Congress intended

    [CERCLA] to impose successor liability on corporations which either have merged with or have

    consolidated with a corporation that is a responsible party . . .”. 851 F.2d 86, 92 (3d Cir. 1988).

    As the Third Circuit explained in United States v. Gen. Battery Corp., “CERCLA successor

    liability is a matter of uniform federal law, as derived from ‘the general doctrine of successor

    liability in operation in most states.’” 423 F.3d 294, 298 (3d Cir. 2005) (quoting Smith Land, 851

    F.2d at 92).

            General Battery’s observation that CERCLA’s successor liability principles are derived

    from state law is consistent with the law of New Jersey, Delaware and New York. Under New

    Jersey law, “[w]hen . . . a merger or consolidation becomes effective: ‘[T]he surviving . . .

    corporation shall be liable for all the obligations and liabilities of each of the corporations so

    merged,’” and “[p]roof of a merger is sufficient to establish liability . . . .” Baker v. Nat’l State

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    Bank, 161 N.J. 220, 228, 736 A.2d 462, 466 (1999) (quoting.1 N.J.S.A. 14A:10-6(e)); State v.

    Ventron Corp., 94 N.J. 473, 503, 468 A.2d 150, 166 (1983) (affirming trial court judgment, as

    modified by Appellate Division, that Ventron was jointly and severally liable for cleanup and

    removal of mercury from the Berry’s Creek area, because “[t]hrough the merger of Wood Ridge

    into Ventron, the latter corporation assumed all of Wood Ridge’s liabilities, including those

    arising out of the pollution of Berry’s Creek”).

            Likewise, under Delaware law, upon the effective date of a merger “all debts, liabilities

    and duties of the respective constituent corporations shall thenceforth attach to said surviving or

    resulting corporation, and may be enforced against it to the same extent as if said debts, liabilities

    and duties had been incurred or contracted by it.” Del. Code Ann. Tit. 8, § 259(a); see also N.Y.

    Bus. Corp. Law § 906(b)(3) (“The surviving or consolidated corporation shall assume and be

    liable for all the liabilities, obligations and penalties of each of the constituent entities.”).

            As the Court put it:

            See, e.g., Baker v. Nat’l St. Bank, 161 N.J. 220, 227-28 (1999) (“When . . . a
            merger or consolidation becomes effective . . . [t]he surviving or new corporation
            shall be liable for all the obligations and liabilities of each of the corporations so
            merged . . . . Proof of a merger is sufficient to establish liability.”) (internal
            quotation marks and citations omitted); Gould, Inc. v. A & M Battery & Tire
            Serv., 987 F. Supp. 353, 372 (M.D. Pa. 1997) (finding, in CERCLA contribution
            action, that plaintiff had to “bear the responsibility of its predecessor’s actions”),
            vacated on other grounds 232 F.3d 162 (3d Cir. 2000).

    Occidental Chem. Corp. v. 21st Century Fox Am., slip op. at 4-5 (alteration in original).


            B. BIW And Its Predecessors Are One And The Same

            Contrary to its position in this case, BIW is the legal successor to the Congoleum

    Corporation with which it merged, Congoleum Industries, Inc. and Congoleum-Nairn, Inc. The

    Third Circuit has recognized that a corporate successor is the same corporate person as its

    predecessor. Smith Land, 851 F.2d at 91 (quoting 1 W. Blackstone, Commentaries). BIW,
                                                       14
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    therefore, is the successor to the Congoleum Corporation with which it merged, which expressly

    assumed Congoleum-Nairn, Inc.’s liabilities. As a result, BIW is the successor to all of the

    liabilities of the owners and operators of the Congoleum Plant from 1886 through 1986.


           C. BIW Did Not Free Itself Of Liabilities Related To The Congoleum Plant With The
              Resilco Assignment

           BIW’s efforts to evade or limit its responsibility for the Congoleum Plant-related

    liabilities fail as a matter of law. It asserts that the Congoleum Corporation with which it

    merged divested itself of Congoleum Plant-related liabilities in a 1986 asset transfer it calls the

    Resilco Assignment. However, in enacting CERCLA, Congress forbade the sort of liability

    transfers that BIW contends these transactions accomplished. Thus, BIW did not and could not

    divest itself of the Congoleum Plant liabilities—and BIW did not and could not avoid assuming

    those liabilities when it merged with Congoleum Corporation — even in the absence of the

    CERCLA proscription. CERCLA bars parties from divesting CERCLA liability by purporting

    to transfer it to a third party. Pursuant to 42 U.S.C. § 9607(e)(1), “[n]o indemnification, hold

    harmless, or similar agreement or conveyance shall be effective to transfer from the owner or

    operator of any . . . facility or from any person who may be liable for a release . . . under this

    section, to any other person the liability imposed under this section.” Consistent with this

    provision’s plain language, the Third Circuit has recognized that “§ 9607(e)(1) renders

    ineffective any attempt to completely ‘transfer’ liability.” Beazer E., Inc. v. Mead Corp., 34

    F.3d 206, 210–11 (3d Cir. 1994) (quotation marks omitted). Other courts have likewise rejected

    BIW’s argument. For example, Hobart Corp. v. Dayton Power & Light Co., involved a

    CERCLA contribution action related to hazardous substances disposed of at an Ohio dump. 407

    F. Supp. 3d 732, 734 (S.D. Ohio 2019). There, defendant Waste Management of Ohio, Inc.

    (“WMO”) acknowledged that it was the legal successor by merger to a certain waste disposal
                                                      15
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    company but denied that it possessed liability for its predecessor’s waste disposal activities. Id.

    at 735–36. Specifically, WMO argued that such liability had been assumed by two other entities

    six years before the merger as part of an asset sale, whereby the predecessors’ liability was

    extinguished and the entities which assumed the liability became the proper successors-in-

    interest. Id. at 736. While the court agreed that the asset purchasers expressly assumed the

    relevant liabilities, it held that those liabilities also remained with WMO’s predecessor since

    CERCLA prohibited it from transferring environmental liability to a third party. Id. at 739-42.

    The court held that the buyer’s assumption of liability created an additional liability for the

    buyer but did not extinguish the seller’s (WMO’s predecessor’s) liability, as “[s]uch a transfer

    of liability is prohibited by statute.” Id. at 742 (emphasis in original). WMO therefore remained

    liable as successor in interest for its predecessor’s waste disposal activities notwithstanding the

    indemnification. Id.7

           Like WMO’s predecessor, BIW could not divest itself of its CERCLA liability by

    transferring that liability to any other entity. While the 1986 transactions BIW cites may have

    contractually bound additional parties to be responsible for Congoleum Plant-related liabilities,

    they did not extinguish BIW’s Congoleum Plant-related liabilities—liabilities that could not be

    divested by any indemnification and therefore remained resident with BIW. See Chaveriat v.

    Williams Pipe Line Co., 11 F.3d 1420, 1425 (7th Cir. 1993) (“It is true that a disclaimer of

    liability is good only against the purchaser, not against a nonconsenting third party. Assignment

    makes the assignee another obligor; it does not let the assignor off the hook.”); Grant-Howard



    7
      Hobart is illustrative of an apparent consensus among federal courts that parties may not
    transfer or extinguish CERCLA liability by agreement. That order cited three cases in three
    different districts that reached the same holding. 407 F. Supp. 3d at 742–44 (citing United States
    v. NCR Corp., 840 F. Supp. 2d 1093 (E.D. Wis. 2011); United States v. Lang, 864 F. Supp. 610
    (E.D. Tex. 1994); and Chrysler Corp. v. Ford Motor Co., 972 F. Supp. 1097 (E.D. Mich. 1997)).
                                                     16
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    Assocs. v. Gen. Housewares Corp., 63 N.Y.2d 291, 297, 472 N.E.2d 1, 3 (1984) (stating that, in

    an asset-sale transaction, “[t]he companies can regulate how such liability will be allocated

    among themselves, but they cannot affect the rights of a stranger to their contract”); 15 Fletcher

    Cyc. Corp. § 7123 (Sept. 2018 Update) (parties to an asset sale can regulate how “liability will

    be allocated among themselves” but cannot “vitiate the original company’s liability”). The

    Seventh Circuit recognized that Section 9607(e)(1) is likely intended to preserve this principle

    in the CERCLA context. See Harley-Davidson, Inc. v. Minstar, Inc., 41 F.3d 341, 344 (7th Cir.

    1994). It likened the types of agreements allowed by Section 9607(e)(1) to automobile

    insurance. Id. A motorist does not divest herself of liability for automobile accidents by

    securing insurance; she just “has someone to share the expense with.” Id. at 343. The same is

    true when parties contract to allocate CERCLA liability among themselves. BIW therefore did

    not divest itself of Congoleum Plant-related liabilities by agreement. It could not transfer its

    liabilities to another entity. Past agreements to allocate Congoleum Plant-related liabilities

    might be enforceable as between contracting parties, such as in an adversary proceeding in

    Bankruptcy Court, but they would not absolve Congoleum Corporation (1984 Congoleum) or its

    successor, BIW, of CERCLA liability to third parties.


     II.   THE COURT SHOULD RESOLVE THE ISSUE OF BIW’S
           SUCCESSOR LIABILITY NOW

           BIW’s legal successorship to the Congoleum Plant-related liabilities is a threshold issue

    that the Court should resolve now. By continuing to relitigate this issue, in an ever-evolving

    effort to evade responsibility for its predecessors’ conduct, BIW needlessly attempts to inject

    confusion and uncertainty about the scope of its responsibility for its predecessors’ wrongdoing.

    Addressing this issue now will save the parties and the Court substantial time and expense in

    discovery and future motion practice on an issue not genuinely in dispute. This threshold issue
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    is ripe for resolution and BIW does not oppose the Court resolving the issue of legal

    successorship now.


                                            CONCLUSION

           Under basic principles of corporate law, the Court should rule that BIW is responsible

    for Congoleum Corporation’s acts and omissions and for any and all of Congoleum

    Corporation’s Congoleum Plant-related liabilities.


    Dated: August 2, 2021                          /s/ John J. McDermott
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